Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 1 of 40


                   UNITED STATES BANKRUPTCY COURT
                SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                              .
IN RE:                        .         Case No. 23-90147
                              .         Chapter 11
MOUNTAIN EXPRESS OIL COMPANY, .
et al.,                       .         515 Rusk Street
                              .         Houston, TX 77002
                 Debtors.     .
                              .         Friday, April 14, 2023
. . . . . . . . . . . . . . . .         10:00 a.m.

        TRANSCRIPT OF DEBTORS' EMERGENCY MOTION FOR ENTRY
          OF AN ORDER ESTABLISHING PROCEDURES FOR DEALER
                  CONVERSION TRANSACTIONS [189];
     JOINT EMERGENCY MOTION FOR ENTRY OF AN ORDER AUTHORIZING
               CLOSING OF CAMERON TRANSACTION [197]
                BEFORE THE HONORABLE DAVID R. JONES
               UNITED STATES BANKRUPTCY COURT JUDGE

TELEPHONIC APPEARANCES:
For the Debtors:             Pachulski Stang Ziehl & Jones LLP
                             By: BENJAMIN WALLEN, ESQ.
                                  MICHAEL WARNER, ESQ.
                             440 Louisiana Street, Suite 900
                             Houston, TX 77002
                             (713) 691-9385

                             Pachulski Stang Ziehl & Jones LLP
                             By: JEFFREY POMERANTZ, ESQ.
                                  JEFFREY W. DULBERG, ESQ.
                             10100 Santa Monica Blvd., 13th Floor
                             Los Angeles, CA 90067-4003
                             (310) 277-6910
TELEPHONIC APPEARANCES CONTINUED.

Audio Operator:              Courtroom ECRO Personnel

Transcription Company:       Access Transcripts, LLC
                             10110 Youngwood Lane
                             Fishers, IN 46048
                             (855) 873-2223
                             www.accesstranscripts.com


     Proceedings recorded by electronic sound recording,
transcript produced by transcription service.
Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 2 of 40
                                                                             2

TELEPHONIC APPEARANCES (Continued):
For the Debtors:              Pachulski Stang Ziehl & Jones LLP
                              By: STEVEN W. GOLDEN, ESQ.
                              780 Third Avenue, 34th Floor
                              New York, NY 10017-2024
                              (212) 561-7700

                              Lugenbuhl Wheaton Peck Rankin &
                              Hubbard
                              By: BENJAMIN KADDEN, ESQ.
                                   COLEMAN L. TORRANS, ESQ.
                              601 Poydras Street, Suite 2775
                              New Orleans, LA 70130
                              (504) 568-1990
For the Official              McDermott Will & Emery LLP
Committee of Unsecured        By: CHARLES R. GIBBS, ESQ.
Creditors:                         MARCUS A. HELT, ESQ.
                                   CHARLES G. COWDEN, ESQ.
                              250 North Harwood Street, Suite 1900
                              Dallas, TX 75201
                              (214) 295-8063

                              McDermott Will & Emery LLP
                              By: MARIS J. KANDESTIN, ESQ.
                              1007 North Orange Street, 10th Floor
                              Wilmington, DE 19801
                              (302) 485-3900

                              McDermott Will & Emery LLP
                              By: LUKE BARRETT, ESQ.
                              One Vanderbilt Avenue
                              New York, NY 10017-3852
                              (212) 547-5400
For the United States         Office of the United States Trustee
Trustee:                      By: JAYSON RUFF, ESQ.
                              515 Rusk Street, Suite 3516
                              Houston, TX 77002
                              (713) 718-4640
For SASS Petroleum            Fellows LaBriola LLP
LLC:                          By: STEVEN KUSHNER, ESQ.
                              233 Peachtree Street NE, Suite 2400
                              Harris Tower
                              Atlanta, GA 30303
                              (404) 586-9200




    ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 3 of 40
                                                                             3

TELEPHONIC APPEARANCES (Continued):
For Pepsi-Cola                Crowe & Dunlevy
Bottling Co. of               By: CHRISTOPHER M. STAINE, ESQ.
McAlester, Inc.:              2525 McKinnon Street, Suite 425
                              Dallas, TX 75201
                              (214) 420-2143

                              Crowe & Dunlevy
                              By: MARK A. CRAIGE, ESQ.
                              222 North Detroit Avenue, Suite 600
                              Tulsa, OK 74120
                              (918) 592-9878
For Bank of Hope:             Buchalter
                              By: WILLIAM S. BRODY, ESQ.
                              1000 Wilshire Boulevard, Suite 1500
                              Los Angeles, CA 90017-1730
                              (213) 891-5015
For CAM-PL Cedar              Rubin & Levin P.C.
Rapids LLC, CAM-PL
Cokeville LLC, and            By: JAMES E. ROSSOW, JR., ESQ.
CAM-PL Kansas City            135 North Pennsylvania Street
LLC:                          Suite 1400
                              Indianapolis, IN 46204
                              (317) 860-2893
For Hunt Refining             Sidley Austin LLP
Company and Pilot             By: MAEGAN QUEJADA, ESQ.
Travel Centers LLC:           1000 Louisiana Street, Suite 5900
                              Houston, TX 77002
                              (713) 495-4618
For Bowie Central             McCreary Veselka Bragg & Allen P.C.
Appraisal District:           By: JULIE PARSONS, ESQ.
                              700 Jeffrey Way
                              Round Rock, TX 78665
                              (512) 323-3200
For First Horizon             Greenberg Traurig, LLP
Bank, as                      By: JOHN D. ELROD, ESQ.
Administrative Agent:         Terminus 200
                              3333 Piedmont Road NE, Suite 2500
                              Atlanta, GA 30305
                              (678) 553-2259




    ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 4 of 40
                                                                             4


TELEPHONIC APPEARANCES (Continued):
For BFM Enterprise            Locke Lord LLP
LLC:                          By: PHILIP EISENBERG, ESQ.
                                   SIMON MAYER, ESQ.
                              JPMorgan Chase Tower
                              600 Travis, Suite 2800
                              Houston, TX 77002
                              (713) 226-1200

                              Locke Lord LLP
                              By: OMER F. KUEBEL III, ESQ.
                              601 Poydras Street, Suite 2660
                              New Orleans, LA 70130
                              (504) 558-5155
For ExxonMobil Oil            Jackson Walker LLP
Corporation:                  By: BRUCE RUZINSKY, ESQ.
                              1401 McKinney Street, Suite 1900
                              Houston, TX 77010
                              (713) 752-4200
For Sunoco:                   Katten Muchin Rosenman
                              By: MICHAELA C. CROCKER, ESQ.
                              2121 North Pearl Street, Suite 1100
                              Dallas, TX 75201-2591
                              (214) 765-3600
Also Present:                 ADAM GLICKMAN
                              AMG Oil




    ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 5 of 40
                                                                                  5

1          (Proceedings commence at 10:00 a.m.)

2                THE COURT:    All right.    Good morning, everyone.         This

3    is Judge Jones.     The time is ten o'clock Central.         Today is

4    April the 14th, 2023.      This is the docket for Houston, Texas,

5    although greetings from very balmy Corpus Christi this morning.

6    Next on the ten o'clock docket, we have the

7    jointly-administered cases of Case Number 23-90147, Mountain

8    Express Oil Company.

9                Folks, please don't forget to record your electronic

10   appearance.     It's a quick trip to the website.        You can do that

11   at any time prior to the conclusion of this morning's hearing,

12   but it is the way that we note your official appearance.

13               First time that you speak this morning, if you would,

14   please state your name and who you represent.           You only have to

15   do that once, but it really does give a good reference for the

16   court reporter in the event that a transcript request is made.

17               We are recording this morning using CourtSpeak.             I

18   will have the audio up on the docket shortly after the

19   conclusion of the hearing.

20               Final announcement this morning, again, we had gotten

21   a number of requests that folks would like to have easier

22   access to the daily calendars of Judge Lopez and Judge Jones.

23   We've been able to accomplish that.         To the extent that you

24   would like to receive an email every morning at 5 a.m., we can

25   do so.    We will have a link on it that will connect to the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 6 of 40
                                                                                  6

1    schedules for both Lopez and Jones.

2                And again, all I need is an email.         It doesn't cost

3    anything.    You can try it.     If you don't like it, it can be

4    deleted.    But it does give you the ability first thing in the

5    morning to think about your two favorite bankruptcy judges at 5

6    a.m., even earlier if you're on the West Coast.            I joke, but

7    it's -- folks have really liked it, at least from the feedback

8    that I've gotten.      All I need is an email, just direct it

9    toward Mr. Alonzo.      It takes about a day or so to get you

10   added.     But again, it's just -- it's an easy thing to do.

11   Happy to provide the service.

12               With that -- oh, finally, if you came in toward the

13   end or right before ten o'clock, have activated the

14   hand-raising feature.      If you know you're going to be speaking,

15   if you'd give me a "five star," I'll get you unmuted now.               If

16   you change your mind later and want to speak, "five star" at

17   any time, I'll see it, and I'll get you unmuted.

18               With that, Mr. Pomerantz, good morning.          I assume

19   that you're taking the lead?

20               MR. POMERANTZ:     Yes, Your Honor.     Good morning.       Jeff

21   Pomerantz, Pachulski Stang Ziehl & Jones.          I'm joined by my

22   colleagues, Jeff Dulberg and Ben Wallen.

23               Your Honor, we have two matters that are on for

24   today's calendar.      The debtor-in-possession financing was

25   continued until next Thursday.        And each of these motions that



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 7 of 40
                                                                                  7

1    are before Your Honor are -- request authority to take action

2    that materially will aid the debtor in its efforts to pursue a

3    restructuring transaction.        I will be handling the Cameron

4    transaction, which we would ask Your Honor that we be permitted

5    to proceed with first because there are parties waiting to send

6    wires if Your Honor grants the motion.         And then after, my

7    partner, Jeff Dulberg, will handle the dealer conversion

8    motion.

9                THE COURT:    Okay.

10               MR. POMERANTZ:     I could say with both -- with respect

11   to both motions, Your Honor, we've had a lot of discussion with

12   parties of interest, including lenders and the Committee.

13   We've incorporated language in proposed orders from the

14   Committee.    And we believe from the lender and the Committee's

15   perspectives that they're both unopposed or supportive of the

16   motion.    And with respect to the dealer conversion motion,

17   we've had substantial discussions, as Mr. Dulberg will explain

18   to the Court, with one party, and I think we're almost there in

19   terms of approved language, but I'm not sure we're completely

20   there yet.

21               THE COURT:    Okay.

22               MR. POMERANTZ:     So, Your Honor -- with that, Your

23   Honor, the first motion is the motion for an order authorizing

24   the closing of the Cameron transaction.          And also, Mr. Healy, I

25   believe if he's not yet in the courtroom, he will be in the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 8 of 40
                                                                                  8

1    courtroom very shortly.

2                So the first transaction -- the first motion, Your

3    Honor, is with respect to the Cameron transaction.             As I have

4    explained to Your Honor on prior occasions, one of the most

5    profitable aspects of the debtors' business is its operation of

6    travel centers, which are essentially super-sized, convenience

7    operations, that the economics work.         And unlike, as you'll

8    hear from Mr. Dulberg, in connection with the convenience

9    stores that were operated by the debtor, the debtor really

10   wants to operate travel centers, and they are a significant

11   source of profit.      And as is typical with the debtors'

12   operations, it seeks to acquire real estate, control of the

13   underlying real estate.       It then flips that as part of the sale

14   leaseback transaction, enters into a long-term lease, and then,

15   in the case of the travel centers, operates the property --

16   properties.

17               One of the transactions that was sort of caught in

18   the, I would say, somewhat limbo by virtue of the petition date

19   was the Cameron transaction.        This is the transaction that

20   dates back several months where the debtor was acquiring three

21   travel centers from Pilot.       It then financed those transactions

22   through Cameron.      The issue and the wrinkle with that

23   transaction, as opposed to other transactions, was the fact

24   that the purchase price was not ready to be paid in full at the

25   time of the closing of the transaction.          So while the closing



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 9 of 40
                                                                                  9

1    occurred and the real estate was transferred, ultimately what

2    happened was there was a $15 million note that the buyer,

3    Cameron, owed the debtor, which was secured by the real estate.

4    And there was a back-to-back note where basically the debtor

5    was obligated to Pilot with Pilot taking possession of the

6    Cameron note and also having a security interest in the note.

7                So until such time as the purchase price was fully

8    paid, Pilot was going to be operating the location.             The debtor

9    was, of course, anxious to have the transaction completed

10   because as soon the transaction could be completed, it would

11   then be able to operate the travel centers and the revenue and

12   income generated would be accretive to the debtors' business.

13               The transaction or the notes were extended a couple

14   of times, most recently until April 14th.          We thought it was --

15   while this was, in our view, an ordinary course transaction

16   consistent with what the debtors had been doing pre-bankruptcy,

17   given the straddling, given the financing nature, we thought it

18   prudent to file a motion.       We sought the motion on emergency

19   hearing.    It was originally scheduled for early this week, and

20   Cameron and Pilot were gracious enough to agree to an extension

21   until today to provide the newly-formed committee with

22   additional time to get up the speed, as well as the lenders.

23               So as I said, I'm happy to say that I believe it's a

24   fully consensual motion.       Pursuant to the transaction, what

25   will happen is Cameron will pay off the note.           The debtor will



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 10 of 40
                                                                                  10

1     pay off its note.     All liens will be released.       The debtors

2     will acquire -- will purchase inventory from Pilot and enter

3     into a couple of -- an equipment and through-put agreement with

4     Pilot that allows Pilot to operate the diesel canopies at the

5     travel centers and allows -- gives access to all the FF&E to

6     the debtor.

7                 Your Honor, Mr. Healy, I believe he's in the

8     courtroom.     I didn't see him before, but I do have a proffer.

9                 THE COURT:    Let me just check to make sure he's at

10    least on the line.       Mr. Healy, if you can hear me, first, if

11    you haven't already done so, I need you to hit "five star" on

12    your telephone.     If you've already done that and you can hear

13    me, if you would just please respond.

14                MR. HEALY:    Yes, I am here, Your Honor.       Yes, I'm

15    here, Your Honor.

16                THE COURT:     All right, thank you.     And do we have a

17    video problem this morning?

18                MR. HEALY:     No, I'm joining that at the moment.

19                THE COURT:     Oh, okay.   Then we'll just take a breath.

20    I just saw you pop in, and your camera should be on

21    momentarily.

22                MR. HEALY:     Yep.

23                THE COURT:     Now I have a message that says your

24    camera is off, but I see your square.

25                MR. HEALY:     Yeah.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 11 of 40
                                                                                  11

1                 THE COURT:    Let's do this.     Mr. Pomerantz, and if

2     Mr. Healy gets his camera on, great.         Mr. Healy, I am assuming

3     -- Mr. Pomerantz, you're just going to offer the proffer and

4     then tender Mr. Healy for any cross.         Is that a safe

5     assumption?

6                 MR. POMERANTZ:    That -- yes, if that is acceptable to

7     the Court, that's what I plan to do.

8                 THE COURT:    That is perfectly fine.      I -- it also

9     gives Mr. Healy a little time to see if he can figure out the

10    camera issue.     So why don't you go ahead and proceed?

11                MR. POMERANTZ:    Thank you, Your Honor.

12                So if Mr. Healy was called to testify, he would

13    testify that his name is Michael Healy and that he is the

14    senior managing director of FTI Consulting and that he is the

15    debtors' proposed chief restructuring officer.          He would

16    testify that he has more than 20 years of restructuring

17    experience and has advised companies, lenders, creditors,

18    corporate boards, and equity sponsors across a diverse range of

19    industries, both domestically and internationally.

20                He would testify that one of debtors' business

21    segments is the operation of travel centers, and he would

22    testify that as is the case with its convenience store

23    business, the debtors acquire the real property in which a

24    travel center is operated, sell the real property to a real

25    estate investment trust, and then lease back the property under



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 12 of 40
                                                                                  12

1     a long-term lease.     He would testify that under -- unlike its

2     convenience store business, the debtors want to operate travel

3     centers because they're extremely profitable and that as of the

4     petition date, there was one travel center transaction that

5     actually involved three separate travel centers, which while

6     the real estate transfer closed prepetition, it was not yet

7     being operated by the debtors.

8                 He would testify that is the Cameron transaction,

9     which is subject to the present motion and that in December

10    2022, the debtors acquired from third-party, Pilot Travel

11    Centers, three locations in Wyoming, Iowa, and Missouri, who

12    then simultaneously sold the properties to the parties referred

13    to in the motion as Cameron, who immediately entered into the

14    leases with the debtors for such locations.          He would testify

15    that Pilot agreed to provide $15 million in seller financing to

16    the debtors in connection with this transaction and that the

17    debtors, in turn, provided $15 million in seller financing to

18    Cameron.    He would testify that as part of the seller

19    financing, the debtors hold liens upon the Cameron properties

20    to secure the $15 million owned by Cameron and that the debtors

21    pledged the Cameron note and underlying lien to Pilot to secure

22    the debtors' obligation to Cameron and that the note is in

23    possession of Pilot.

24                He would testify that as a result of certain payments

25    made pre-petition and other amendments to the transaction, the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 13 of 40
                                                                                  13

1     current balance due under the note is $10 million, and he would

2     testify that he understands that Cameron is now obligated

3     directly to pay that money to Pilot.         He would testify that

4     Pilot has been operating these locations pursuant to a

5     temporary license until the balance of the purchase price is

6     paid and that -- he would testify that Cameron -- he

7     understands that Cameron is ready to pay the purchase price and

8     that their deadline to close the transactions and transition

9     the operations to the debtors is today, April 14th.

10                 He'd testify that in order to close the transactions

11    and transfer operations to the debtors, Cameron will sell

12    inventory -- or Pilot will sell inventory at these locations to

13    the debtors and the debtor and Pilot will enter into equipment

14    lease through-put agreements with the debtors and Cameron will

15    satisfy their seller financing obligations, and everyone will

16    release all liens.

17                 He would testify that he believes that the

18    transactions contemplated by the -- this motion are in the best

19    interest of the debtors, their estates, and stakeholders.              And

20    he would testify that notably the only funds that these debtors

21    are expected to expend in order to consummate the transaction

22    are those related to the ordinary transition of operations to

23    the applicable locations, including the acquisition of the

24    inventory.     He would testify that the debtors expect their

25    go-forward revenues to increase as a result of transferring



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 14 of 40
                                                                                  14

1     operations to the debtors and for the foregoing reasons, he

2     would testify that he believes that the Court should approve

3     the Cameron transaction.      That is the conclusion of the proffer

4     for Mr. Healy, Your Honor.

5                 THE COURT:    All right.    Thank you.    M

6                 r. Healy, since I can't see you, I'm going to ask you

7     to raise your right hand.       Confirm for me that your right hand

8     is raised.

9                 MR. HEALY:    I think IT is getting me on in one

10    second, Your Honor.

11                THE COURT:    There you are -- I can -- there we go.

12    Thank you.    Then -- terrific.     Then you're now still eligible

13    to be CRO of a tech company.       I just -- I'll put that on the

14    record for you.     All right.

15                If you would, Mr. Healy, if you'd raise your right

16    hand.

17                   MICHAEL HEALY, DEBTORS' WITNESS, SWORN

18                THE COURT:    Thank you.    Did you listen carefully to

19    the proffer made by Mr. Pomerantz of your testimony in support

20    of the motion this morning?

21                MR. HEALY:    I did.

22                THE COURT:    Did you understand it all?

23                MR. HEALY:    I do.

24                THE COURT:    The statement's true and accurate to the

25    best of your knowledge?



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 15 of 40
                                                                                  15

1                 MR. HEALY:    It is.

2                 THE COURT:    And do you adopt the proffer as your

3     sworn testimony this morning?

4                 MR. HEALY:    I do.

5                 THE COURT:    All right, thank you.      Does anyone have

6     any questions for Mr. Healy?

7                 All right.    Then I will accept the proffer.

8     Mr. Healy, thank you.      Don't turn that camera off.

9                 All right.    Mr. Pomerantz, anything else?

10                MR. POMERANTZ:    No, that is it, Your Honor.           With

11    that evidentiary basis and my summary at the beginning, we

12    would ask that Your Honor approve the transaction and, if

13    possible, expedite entry of the order so that the transaction

14    can close today.

15                THE COURT:    And thank you, Mr. Pomerantz.        I just

16    wanted to confirm, it is -- the order that you want me to sign

17    is the order that was attached to the original motion at 197-1?

18                MR. POMERANTZ:    That is correct, Your Honor.

19                THE COURT:    Thank you.    Mr. Gibbs, I know that you

20    didn't file an objection.       I also know that you're very new to

21    this and you are racing to catch up.         Just want to make sure

22    the Committee's had ample time to look at this under the

23    circumstances and has no objection.

24                MR. GIBBS:    Thank you.    Good morning, Your Honor.

25    Chuck Gibbs from McDermott, Will & Emery, proposed counsel for



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 16 of 40
                                                                                  16

1     the Unsecured Creditor's Committee.         With me is my partner,

2     Maris Kandestin, who's filed a pro hac motion, which I think

3     has been approved.       And Ms. Kandestin has been handling this on

4     behalf of the Committee in my stead and -- as well as the next

5     motion.    And with my introduction of her to you, I think my

6     work today is down, and she can directly answer your questions.

7                 THE COURT:     Terrific.   Ms. Kandestin, good morning.

8     Ms. Kandestin, I can't hear you.        Had you hit "five star" on

9     your telephone or do you have me muted from your side?              There

10    we go.

11                MS. KANDESTIN:     All right.    Sorry about that.       Thank

12    you, Your Honor.

13                We did have an opportunity to converse with the

14    debtors and request information, including financial

15    information, with respect to this motion.          The debtors very

16    promptly provided that information, and we reviewed it and

17    we're comfortable with the motion and believe it is in the best

18    interest of the estate.

19                THE COURT:     All right, thank you.

20                Anyone else wish to be heard?

21                MR. ROSSOW:     Your Honor, this is Jim Rossow.

22    Briefly, I'm -- I represent the Cameron parties, the purchasers

23    under the proposed transaction.        And I want to just emphasize,

24    first of all, thank you for allowing me to be admitted for this

25    case.     I'm here in Indianapolis, Indiana.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 17 of 40
                                                                                   17

1                 With respect to what Mr. Pomerantz indicated about

2     the urgency, one other issue that's probably not directly

3     salient is that for the Cameron parties, the urgency is that

4     they have other components that their lender has imposed on

5     them for closing today that are totally unrelated to the

6     debtors' interests and the debtors' assets.           But the bottom

7     line is that they avoid defaults if they are able to close

8     today, so they're ready and willing to pay.           And if the order

9     is circulated, the -- those wires will be released.

10                THE COURT:     All right, Mr. Rossow, and thank you for

11    letting me know that.       Don't go away.

12                Anyone else?

13                All right.     I've had the opportunity to review the

14    proposed or to review the motion and the proposed form of

15    order.   I do find that I have jurisdiction over the matter

16    pursuant to 28 U.S.C. Section 1334.          I do find that the matter

17    constitutes a core proceeding under 28 U.S.C. Section 157.               I

18    further find that I have the requisite constitutional authority

19    to enter a final order with respect to the request.

20                Mr. Pomerantz, I do compliment the debtors and their

21    professionals for not trying to squeeze this into an ordinary

22    course transaction.      I'm not passing on whether it is or it

23    isn't, but I do think under the circumstances of the case, it

24    was prudent to bring this to everyone's attention and to treat

25    it as though it were not a transaction in the ordinary course.



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 18 of 40
                                                                                  18

1     I just think that's -- that represents, as you always foster,

2     good business judgment on behalf of the debtor.

3                 I don't have any concerns at all about what's being

4     done.     It is -- it just makes good sense.         I will find that the

5     debtor has properly exercised its business judgment.            Had a

6     chance to review the order at 197.         I have signed it.

7                 Mr. Rossow, I will tell you because I never see a

8     piece of paper.     This is all done electronically.         I just added

9     my signature.     It's on its way to docketing.        It will show up

10    in about five minutes.

11                So, you know, grab your favorite soda, you know,

12    enjoy it for about five minutes, and then you can get to work.

13                MR. ROSSOW:    Thank you very much, Your Honor.         And I

14    was told this might happen, so I'm pleased to see it.

15                THE COURT:     Terrific.    Thank you.     All right.   Thank

16    you.

17                MR. POMERANTZ:    Your Honor, I would like to -- I

18    would like to turn the virtual podium over to my partner, Jeff

19    Dulberg, who is going to walk through the dealer conversion

20    motion.

21                THE COURT:     Thank you.

22                Mr. Dulberg, good morning.

23                MR. DULBERG:     Good morning, Your Honor.      Am I audible

24    in the courtroom?

25                THE COURT:     Loud and clear.    Thank you.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 19 of 40
                                                                                  19

1                 MR. DULBERG:     Great.   Thank you so much.      So Your

2     Honor, as you know, this is our dealer conversion procedures

3     motion.   The motion is an effort by the debtors to lay out a

4     procedure for the efficient closing of what we call "dealering

5     out" or dealer-conversion transactions.         These are transactions

6     by which the company, as it has for several months prepetition

7     and wishes to continue to do, converts certain of its C-store

8     locations, its convenience store locations, into

9     dealer-operated locations, or dealer-operated sites as we call

10    them.

11                This effectively requires two things.         One is a sale

12    of the inventory and FF&E at the location to a prospective

13    dealer, and then, two, entry into a lease and fuel supply

14    agreement, or a sublease, as it were, and fuel supply agreement

15    with that new operator, that new dealer, at these locations.

16    In short, this eliminates the costs and hassles associated with

17    operating these locations for the debtor, provides rental

18    income, and most importantly, accretes to the overall sale of

19    fuel, which is, in fact, the lifeblood of the company.

20                The process, as the motion lays out, has been

21    undertaken on many occasions, leading to the conversion of over

22    100 of these locations prepetition, and a few dozen are in

23    various states of preparedness awaiting approvals of a motion

24    of this sort before they could go forward.          Your Honor, a

25    couple of different comments were received with respect to the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 20 of 40
                                                                                  20

1     proposed order.     First the Committee counsel, in particular,

2     Ms. Kandestin, on the Committee's behalf, negotiated for a

3     variety of different comments and revisions to the order.              Your

4     Honor, you'll see at Docket Number 274, as of this morning, --

5     is an amended order that includes all of them.          Some of them --

6     and not only were they all very helpful for all of us to

7     effectively expand the notice period, provide for a little bit

8     of a process by which a draw can be resolved with -- if we're

9     at loggerheads and otherwise puts in some typical consultation

10    rights for a Committee and for the DIP lender.          This has led to

11    our agreements on the -- that form of the order with respect to

12    all of those matters.      And in particular, I also note that the

13    DIP lender has conveyed to us that they have no objection to

14    the motion, and I assume to this form of order, as well.

15                The only other wrinkle, Your Honor, is you'll note

16    that there was an objection filed by Brothers, the -- a --

17    which is an operator of a food -- a part of the food sales that

18    we do in that roughly six to ten locations in Louisiana.             We

19    have a license with Brothers for the sale of chicken in those

20    locations.

21                Brothers, I think quite rightly, raised their hands

22    and said, hey, you know, we would like to, in particular, be

23    made aware of any sale that -- or any particular

24    dealer-conversion that's going to affect us, and we believe

25    we'd like to bring in some other provisions that sort of inform



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 21 of 40
                                                                                  21

1     what your dealer's obligations will be.         Your Honor,

2     unfortunately, we don't have a agreement yet as of this morning

3     on that form of that order.       You'll notice at the very end of

4     the order at 274 is language that I know is very close to doing

5     the trick for Brothers, and they can otherwise suggest that if

6     it didn't -- if they disagree.

7                 I do want to say that even keeping things sort of hot

8     right up to the last moment, we've agreed to remove the word

9     "materially," which we inserted in this version of the order

10    there at the very last paragraph.        It is Paragraph Number --

11    the last substantive paragraph, I should say, Number 13.             There

12    is at line -- second line down, the material effect that

13    Brothers has conveyed that they do not accept that insert of

14    that word.    And we are happy, Your Honor, if Your Honor does

15    end up entering the order, to remove that.

16                Otherwise, we believe the order is appropriate.            And

17    to sort of strike the balance between the rights of third

18    parties to gain notice and to speak up with respect to

19    substantive issues that may impact them, while at the same time

20    providing the debtors a smooth procedure by which to get these

21    matters closed.

22                Your Honor, as similarly with the Cameron

23    transaction, we have a proffer of the testimony that Mr. Healy

24    would give in support of the motion.         I'm prepared to provide

25    that if Your Honor is ready to have it.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 22 of 40
                                                                                  22

1                 THE COURT:    All right.    Thank you.

2                 Let me -- let's see.     Mr. Kuebel, are you taking -- I

3     saw Mr. Eisenberg earlier, but since this is Louisiana, is this

4     you?

5                 MR. KUEBEL:    Yes, Your Honor.

6                 THE COURT:    All right.    Thank you.    Good morning.

7                 MR. KUEBEL:    Good morning, Your Honor.       Omer F.

8     Kuebel, III, with Locke Lord.       I'm with my partner today, Phil

9     Eisenberg, and I believe Simon Mayer is with us, as well.              And

10    we represent BFM Enterprises, Your Honor, and a number of its

11    affiliates generally under the banner of the Brothers Food

12    Mart.

13                Your Honor, obviously the debtors have announced

14    their intentions to exit the day-to-day operations of the

15    remaining C-stores.       Our limited objection has no real issues

16    with the debtors' business judgment in that regard.            In

17    reviewing the motion, and the motion seeks to establish

18    expedited procedures for transfers of these remaining operated

19    C-stores to what they call dealers, our clients do believe, and

20    I think the Court understands, that often these dealer assets

21    are really creatures of contracts, significant contracts, maybe

22    the sublease of the sublease of the actual real estate itself,

23    fuel supply agreement obviously are key issues in this case,

24    and wholesale or other agreements for provisions or supplies of

25    the interior C-store goods.       Sometimes we would call them



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 23 of 40
                                                                                  23

1     sundries in the industry, but they may be everything to Coke

2     and Pepsi, what Your Honor's already had to deal with in this

3     case, the snacks, et cetera.

4                 And we had reached out to the debtor initially

5     because we were concerned that the procedures didn't expressly

6     address assumption or rejection of those contracts.            And in the

7     case of our client, BFM, Your Honor, we are most concerned

8     about a -- one significant contract to us, which is a license

9     agreement and a license agreement that allows the debtor, MEX,

10    to use the trade name, the trademark, logos, and maybe most

11    importantly, the Brother's legendary fried chicken recipe.

12                We do believe that maybe, that as we work through it,

13    the universe of stores that would be left that would

14    potentially be existing operated Brother stores that would move

15    to dealers is a pretty small universe.         The entirety of the

16    transaction across Southeast Louisiana is a little closer to 40

17    stores, but I think that the remaining dealer stores that are

18    at issue are a smaller number and probably less than 10, Your

19    Honor.   So, you know, we -- we're limited, and we're -- we

20    reached out to the debtor to try to get a fix for our concerns

21    in this regard.

22                I think the debtor is aware that there are some

23    current disputes over the licensing agreement.          We've worked

24    with the debtor to adopt a notice procedure to make sure that

25    BFM and its affiliates are getting notice of related



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 24 of 40
                                                                                  24

1     transactions, particularly transactions that may implicate any

2     efforts of MEX to put its future dealers under the licensing

3     agreement.    I think we've largely agreed to terms.          Mr. Dulberg

4     is correct that we did have an issue with the materiality

5     qualifier on limiting notice, and I think we've resolved that

6     issue.

7                 And part of our concern, so Your Honor is aware, is

8     that BFM and its affiliates had not been scheduled or listed by

9     the debtor in its initial list of creditors, and still, as of

10    the most recent mailing matrix, we're still not on it.              So we

11    have had some notice concerns, but I think we've regarded -- we

12    -- we've resolved it.

13                And really, I think we come before Your Honor today

14    with one, you know, relatively small issue with respect to the

15    carve-out language in this proposed order.          And it really gets

16    to the question, Your Honor, of whether in this expedited

17    marketing process, if Mountain Express seeks to provide access,

18    to one of its dealers to the Brother's license as part of its

19    expedited marketing procedures, it gives the dealer access to

20    or provides both notice of and a copy of that licensing

21    agreement to the dealers.       And I think that's kind of our

22    remaining issue.

23                The debtors' been reluctant to do it.         We're a little

24    bit concerned about why the debtors' been reluctant to do it.

25    It would seem that any dealer that would want to step into the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 25 of 40
                                                                                  25

1     Brother's trade name, logos, and fried chicken recipes would

2     want to know that it's under a license agreement and what the

3     terms of those licensing agreements are.

4                 But nevertheless, Your Honor, that's our last issue

5     that we may bring before you to see if we could get resolution.

6     Otherwise, I think our concerns have been addressed.            The kind

7     of overarching concern is if the debtor remains reluctant to

8     provide its dealers with copies of the licensing agreement,

9     that it almost ensures that we're back here, Your Honor, either

10    on a dealer-by-dealer notice, or potentially we've got to come

11    before Your Honor and move to shorten the time to assume or

12    reject the licensing agreement.        So that -- that's our one

13    remaining issue, Your Honor, and I'm happy to answer any

14    questions you may have.

15                THE COURT:    So let me propose this because I think I

16    understand, at least I think I do, why you don't have the

17    absolute language that you want.        But I -- I've read through,

18    again, looking at order form, 274, I've made the change in

19    Paragraph 13.     And let me propose this as a fix because I

20    actually think this will solve the problem, is if you get a

21    notice and you want to schedule a hearing, even with no

22    pleading on file, I will commit to you that if you will reach

23    out on the day that you get the notice, I'll give you a hearing

24    slot within the 14-day time period.        And that way, if you can't

25    work this out between the two of you, once you and



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 26 of 40
                                                                                  26

1     Mr. Dulberg -- and I use "you" just simply in the

2     representative capacity -- if the two of you begin, again based

3     upon the specific identity of the person that is, or the entity

4     that's going to be taking over, if you don't have it resolved,

5     then you have a time period or you have a hearing date within

6     the time period that you've negotiated, that being the 14 days,

7     where it won't go forward unless you have resolved your issue.

8     You want to tell me why that doesn't work?          And it also gives

9     everybody an incentive not to come to that hearing.

10                MR. KUEBEL:    Your Honor, from my perspective, I think

11    that's a great fix and thank you for suggesting it, and it

12    would be acceptable to our client.

13                THE COURT:     All right.   Mr. Dulberg, I can't imagine

14    you have any issue with that.       All I'm saying is look, you --

15    if the request is made, you'll have a time -- you'll have a

16    hearing date within the 14 days.        I hope to never see the two

17    of you on this issue, but if we need to, I'm obviously very

18    happy to do it.

19                MR. DULBERG:     Your Honor, we have no issue with that.

20    I should say that Mr. Kuebel's recitation of what occurred

21    isn't exactly accurate.      I have in front of me their request

22    that we tell the third-party dealer that they're bound by the

23    license agreement and assure that they'll remain in compliance,

24    which goes way past what he described.         But Your Honor has, as

25    Your Honor does, already resolved it without us having to get



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 27 of 40
                                                                                  27

1     into a dispute over that.       And, Your Honor, that's acceptable

2     to us.

3                 THE COURT:    All right.    That's -- and again, are the

4     two of you happy with my statement?        And Mr. Alonzo is sitting

5     about three feet away from me.       Are you all happy with my

6     statement on the record that if you'll just reach out to him --

7     and do it when you get the notice, I'll create that time slot

8     for you.    And then if there isn't an issue, perfectly happy for

9     the two of you to send an email to him that says, we don't need

10    the hearing time.     And obviously I want you to -- and I -- this

11    goes without saying, obviously you'll loop in the other major

12    constituents as this is developing, including the Committee.

13    Does that work for everybody or you want an order -- you want

14    to modify 274?

15                MR. KUEBEL:    Your Honor, from our perspective, I

16    think we may need to tweak 274 anyway on an issue we've agreed

17    on to make sure we've augmented the proper list of our client

18    and its affiliates.      Other than that, I'm happy with the

19    Court's representations.      We understand what the process is

20    going to be.    I mean, as Your Honor knows, this has been a back

21    and forth, and as we highlighted in our objection and as we

22    have gone back and forth, that our key issue is making sure

23    that these dealers get notice of our license.

24                THE COURT:    No, I got it.    I'm just comfortable, and

25    I want to give the professionals maximum flexibility to address



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 28 of 40
                                                                                  28

1     whatever may pop up, so I'm just fine.         And again, Mr. Alonzo's

2     there.    You know how to reach him.

3                 In terms of other comments, I have 274 up on the

4     screen.    I'm happy to be your scrivener if the changes are

5     short.    If there's, you know, if there's a huge amount of

6     rewriting, then, you know, I'm happy for you all to upload an

7     order.    But if it's just inserting a couple of names somewhere,

8     I'm more than happy to do that right now, just so we can put

9     this issue to bed.

10                MR. KUEBEL:    Your Honor, I'm fine with working

11    through it that way.      At the risk of it being a bit

12    (indiscernible). So in going through the language of the order,

13    Your Honor, in Paragraph 13, I think the striking of the word

14    "materially" in the first sentence.

15                THE COURT:    So hold on.    Hold on for a second.       So I

16    want you to follow along.

17                MR. KUEBEL:    Yeah.

18                THE COURT:    All right.    So you should see the order

19    up on the screen and --

20                MR. KUEBEL:    Yes, Your Honor.

21                THE COURT:    I actually -- I didn't strike through it.

22    I just deleted the word "materially."

23                MR. KUEBEL:    Perfect.    So our proposed second change,

24    Your Honor, would be further on in that sentence where we're

25    listing the entities.      And we would -- and I think we can do it



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 29 of 40
                                                                                   29

1     anywhere.     We can do it after Hand and Holdings, LLC.            For

2     example, insert BFM Operations, LLC, Imad, I-M-A-D, Hamdan.

3                 THE COURT:     I'm sorry.    I just didn't hear you,

4     Mr. Kuebel.     My apologies.

5                 MR. KUEBEL:     The next insert would be Imad, I-M-A-D

6     Hamdan, H-A-M-D-A-N.       And that would cover it.

7                 THE COURT:     I'm sorry.    Mr. Kuebel, did I -- again, I

8     just didn't hear what you said after you said Hamdan.

9                 MR. KUEBEL:     That would conclude our inserts, Your

10    Honor.

11                THE COURT:     Oh, okay.    That's easy.    And I assume --

12    I assumed, Mr. Dulberg, that you don't really care.

13                MR. DULBERG:     Your Honor, that's correct.

14                THE COURT:     All right.    So I do care that my

15    punctuation is right.       Let me add -- oops.       All right.    Maybe I

16    don't care that much.       Let see if I can move that out.         Okay.

17    There we go.

18                And Ms. Kandestin, I assume that you're okay with

19    this?

20                MS. KANDESTIN:     Yes, Your Honor.

21                THE COURT:     All right.    Thank you.    So with that,

22    Mr. Kuebel, objection withdrawn?

23                MR. KUEBEL:     Yes, Your Honor.

24                THE COURT:     All right.    Thank you.

25                MR. KUEBEL:     And of course, subject to Your Honor's



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 30 of 40
                                                                                   30

1     accommodation to -- with respect to the hearing date that you

2     suggested on the record.

3                 THE COURT:     I -- I've stated it on the record.         Quite

4     frankly, I didn't need to.       You always have that anyway.

5                 But I, the only thing I ask is that, you know, soon

6     as -- as soon as this happens, that you reach out and get a

7     date because I'm obviously able to be more flexible.             I don't

8     want you to call me on day 13 and say, well, you promised me a

9     hearing date within the 14-day period and, you know, I'm in the

10    middle of something else.       I mean, I'll make it work, but it

11    may be, you know, it may be a really late or a really early

12    hearing.

13                MR. KUEBEL:     You always do, and we're incredibly

14    appreciative for your service.          Thank you.

15                THE COURT:     All right.     Mr. Kuebel, kind words.

16    Thank you.

17                All right.     Then with that, Mr. Dulberg, do you want

18    to go ahead and make your proffer?

19                MR. DULBERG:     Your Honor, I'd like to.       I'll go as

20    quickly as I can.      So, Your Honor, if Mr. Healy were to

21    testify, he would testify as follows.

22                "My name is Michael Healy.        I'm a senior managing

23                director of FTI Consulting, Inc., and I am the duly

24                appointed chief restructuring officer of each of the

25                debtors.     I have more than 20 years of restructuring



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 31 of 40
                                                                                  31

1                 experience and have advised companies, lenders,

2                 creditors, corporate boards, and equity sponsors in

3                 this capacity.

4                 "Among the debtors' business segments is its C-store

5                 operations business, which consists of the operation

6                 of fueling centers and convenience stores.          I

7                 understand that beginning in 2022, the debtors

8                 determined to transform this business segment to a

9                 third-party, dealer-operated model.        In or about

10                October, 2022, the debtors began to sublease these

11                locations to third-party dealers and transfer related

12                operated dealer assets on site, which includes

13                inventory, fixtures, and equipment to those dealers.

14                As part of the transition to dealer-operated sites,

15                these same dealers also entered into fuel supply

16                agreements with the debtors.

17                "Prior to the petition date, the debtors converted

18                104 operated fueling centers to network dealer sites,

19                and as of the petition date, are positioned to

20                convert an additional 55 operated fueling centers to

21                network dealer sites with various third parties.            By

22                way of each dealer conversion transaction, the

23                dealers maintain long-term positive cash flows

24                through fuel volume distribution and vent (phonetic)

25                income, while simultaneously eliminating their



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 32 of 40
                                                                                  32

1                 operating expenses and difficulties associated with

2                 the day-to-day operations of a fueling center.

3                 "In general, dealer conversion transactions do not

4                 produce a large amount of sale proceeds due to the

5                 debtors, in certain instances, the debtors receive

6                 funds for inventory that they sell to the dealer as

7                 part of the conversion.      And occasionally as part of

8                 the negotiation process, the dealers agree to incur

9                 certain capital expenditures."

10                He would continue:

11                "Although I believe dealer conversion transactions to

12                be ordinary course of business transactions, the

13                debtors seek approval of procedures that authorize a

14                streamlined process to undertake dealer conversion

15                transactions in cooperation with other key parties in

16                interest.    I believe that approval of the dealer

17                conversion transaction procedures to be in the best

18                interest of the debtors' estates.        The use, sale, or

19                transfer of the operated-dealer assets will generate

20                additional value and help preserve existing value for

21                the benefit of the debtors' estates and all parties

22                in interest.

23                "The cost associated with a prolonged court approval

24                process for numerous processes could easily diminish

25                the benefits these transactions provide to the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 33 of 40
                                                                                  33

1                 debtors' estates.     Additionally, the debtors often

2                 have a limited window of time during which they can

3                 take advantage of opportunities to engage in dealer

4                 conversion transactions, so a streamlined set of

5                 procedures approved by this Court will assure third

6                 parties of the debtors' ability to consummate these

7                 transactions.

8                 "At bottom, the dealer conversion transaction

9                 procedures permit the debtors to convert operated

10                fueling centers into network dealers in a streamlined

11                and cost effective manner, while balancing these

12                efficiencies by providing notice and an opportunity

13                to object, to parties of interest.        Importantly, the

14                dealer conversion transaction procedures do not apply

15                to any transactions involving insiders."

16                Mr. Healy would conclude that "For the reasons set

17    forth of the dealer conversion motion, I believe the Court

18    should approve the dealer conversion motion and the dealer

19    conversion transaction procedures contained therein."

20                That would conclude the proffer, Your Honor.

21                THE COURT:    All right.    Thank you.

22                Mr. Elrod and Ms. Crocker, I'll get to you in just

23    one second.    I did see you.     I just got a bit ahead of myself

24    and my apologies.

25                Mr. Healy, if you would please raise your hand again,



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 34 of 40
                                                                                  34

1     please, sir?

2                  MICHAEL HEALY, DEBTORS' WITNESS, RE-SWORN

3                 THE COURT:    All right.    Thank you.    Did you listen to

4     the proffer of your testimony this morning?

5                 MR. HEALY:    Yes, I did.

6                 THE COURT:    Understand it all?

7                 MR. HEALY:    I did.

8                 THE COURT:    Everything true and accurate to the best

9     of your knowledge?

10                MR. HEALY:    Yes.

11                THE COURT:    Do you adopt the proffer as your sworn

12    testimony this morning in support of the debtors' request for

13    relief?

14                MR. HEALY:    I do.

15                THE COURT:    All right.    Thank you.    And anyone wish

16    to cross-examine Mr. Healy?

17                All right.     Thank you.

18                Let me just start, Ms. Crocker, I saw yours first.

19    I'm also from the South, so you're probably always going to get

20    to go first, just to completely candid.         I saw you raise your

21    hand, and again, I didn't mean not to be responsive.            Did you

22    need to make a statement?

23                MS. CROCKER:     Just briefly, Your Honor.      Michaela

24    Crocker on behalf of Sunoco.

25                Mr. Kuebel's comments just raised one issue I would



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 35 of 40
                                                                                  35

1     like some clarification on.       I had reached out to debtors'

2     counsel, and based on the terms of the motion and my

3     discussion, it's my understanding that this procedure will not

4     include the assumption or rejection of executory contracts for

5     the assignment of licenses.       And I just want to make sure that

6     is the case.

7                 THE COURT:     That was my understanding.      Mr. Dulberg,

8     can you just confirm that for Ms. Crocker?

9                 MR. DULBERG:     That is confirmed, Your Honor.

10                THE COURT:     Ms. Crocker, is that satisfactory to you?

11                MS. CROCKER:     It is, Your Honor.     Thank you.

12                THE COURT:     Thank you.

13                Mr. Elrod?     Mr.   Elrod, I -- do you have me muted

14    from your side, perhaps?

15                MR. ELROD:     Apologies, Your Honor.     Good morning.

16    John Elrod on behalf of the DIP lenders.

17                Your Honor, just a minor clarification, and I think

18    it's somewhat implicit, but I would like it to be explicit.

19    Your Honor referenced some consultation rights in favor of the

20    Committee earlier, and I think you used the phrase "other major

21    constituents."     Presumably that includes the DIP lenders but I

22    just wanted to clarify that point.

23                THE COURT:     Couldn't imagine that it wouldn't.

24    Mr. Dulberg?

25                MR. DULBERG:     Your Honor, if I might, if you'll look



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 36 of 40
                                                                                  36

1     and Mr. Elrod will also notice, and it shows up in 274,

2     Paragraphs 1(a) and (e), I believe they are, Subparagraphs (a)

3     and (e), each contain the consultation rights, concomitant

4     rights for the DIP lender, as given to the Committee.

5                 THE COURT:    You're even capitalized, Mr. Elrod.

6     That --

7                 MR. ELROD:    I saw that.    I did see that, Your Honor.

8     I thought there was a modification on the record earlier and

9     that's what led to my comments.

10                THE COURT:    Ah, fair enough.     That's -- I didn't

11    intend to change the order.       I thought I was supplementing.            My

12    apologies.

13                MR. ELROD:    Thank you, Your Honor.

14                THE COURT:    Mr. Ruff, U.S. Trustee okay with this?

15    This seems really efficient and makes a lot of sense, but

16    hadn't heard from you this morning, so I just want to make sure

17    you're okay.

18                MR. RUFF:    Your Honor, I'm totally okay.        Again,

19    Jason Ruff for the U.S. Trustee's office.         Appreciate the

20    opportunity to speak.      No issues.    I think this strikes a nice

21    balance between, you know, due process and notice and allowing

22    the debtors to do what they've been doing historically for

23    their businesses, so --

24                THE COURT:    All right.    Thank you, Mr. Ruff.

25                And, Ms. Kandestin, process make sense to the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 37 of 40
                                                                                  37

1     Committee and feel like you're at the table?

2                 MS. KANDESTIN:     Yes, Your Honor.     Thank you.      And

3     thank you to the debtors for working with us to implement -- to

4     put all of the changes that you see in 274.

5                 There was, subject to I think Mr. Dulberg is going to

6     make a statement on the record to clarify what exactly the

7     operated dealer assets are.       But other than that, Committee is

8     fully supportive of these changes.

9                 THE COURT:     All right.    Thank you.   Mr. Dulberg, did

10    you need to make a statement?

11                MR. DULBERG:     Your Honor, I think it was fairly well

12    contained in the proffer, which is that it includes equipment,

13    inventory, and that's pretty much it.         Some fixtures.

14                THE COURT:     I got it.    I just didn't know if you had

15    agreed, that the two of you had agreed to specific language.

16                MR. DULBERG:     You're right.

17                THE COURT:     I thought I would give you the

18    opportunity.

19                MR. DULBERG:     Ms. Kandestin is correct, and I thought

20    of it as subsumed within the testimony, but it -- it's -- that

21    is what it is.     It is effectively inventory and FF&E.

22                THE COURT:     Ms. Kandestin, you okay with that?

23                MS. KANDESTIN:     Yes.    Thank you.

24                THE COURT:     All right.    Thank you.   Then I have no

25    objections that remain outstanding with respect to the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 38 of 40
                                                                                   38

1     requested relief.     Do find that I have jurisdiction pursuant to

2     28 U.S.C. Section 1334.      The matter constitutes a core

3     proceeding under 28 U.S.C. Section 157.         I have the requisite

4     constitutional authority to enter a final order.

5                 Practically speaking, I just really appreciate the

6     balance that's been struck.       Business has got to be able to

7     operate efficiently and take advantage of opportunities.

8     Bankruptcy adds a pull -- sometimes pushes against that with

9     making sure that everybody has an opportunity to be notified

10    and participate in the process.        This is a great balance.         I

11    don't have any concerns at all with the requested relief.

12                I have obviously had a chance to review the revised

13    form of order at 274.      We've made some interlineations as

14    everyone has seen to satisfy Mr. Kuebel's client's objections.

15    With that, I'll grant the motion.        I've signed the order.         It

16    is on its way to docketing.       All right?

17                MR. DULBERG:     Thank you, Your Honor.

18                THE COURT:    Thank you.

19                Mr. Pomerantz, are you closing us out?

20                MR. POMERANTZ:    I think we're ready to close out,

21    Your Honor.    Appreciate your time, and we will see you next

22    Thursday.

23                THE COURT:    All right.    Thank you.     Then everyone

24    have a great weekend.

25                MR. POMERANTZ:    Actually, just one question, Your



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 39 of 40
                                                                                   39

1     Honor.   Next Thursday, how long do you have?          I know Your Honor

2     is traveling.     Just for parties' expectations, you know, we

3     hope to resolve the DIP issues, but if we don't, we just wanted

4     to know how long you have set aside for us.

5                 THE COURT:    Fair enough.      So let me get there.      So

6     let me just tell you.      Next Thursday will be day four of

7     mediation part, first day of part, or second day of part two.

8     I will be in New York.       How much time do I have set aside?          I

9     hope it's very little, but I mean, if you'll just keep

10    Mr. Alonzo engaged, we will figure out how to manage all of

11    that.    You may see a pretzel stand in the background, but we

12    will figure out how to make all this work.

13                MR. POMERANTZ:     Appreciate it, Your Honor.

14                THE COURT:    All right.     Thank you, everybody.       Have a

15    great weekend.     We'll be adjourned.

16                MR. POMERANTZ:     Thank you.

17          (Proceedings concluded at 10:49 a.m.)

18                                    * * * * *

19

20

21

22

23

24

25



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 334 Filed in TXSB on 04/25/23 Page 40 of 40
                                                                                  40

1                           C E R T I F I C A T I O N

2

3                 I, Teresa Saint-Amour, do hereby certify that the

4     foregoing is a correct transcript from the electronic sound

5     recording provided for transcription and prepared to the best

6     of my professional skills and ability.

7

8     ___________________________________

9     TERESA SAINT-AMOUR, AAERT NO.       2020     Dated:   April 22, 2023

10    ACCESS TRANSCRIPTS, LLC

11

12

13


14                          C E R T I F I C A T I O N

15

16                I, Alicia Jarrett, court-approved transcriber, hereby

17    certify that the foregoing is a correct transcript from the

18    official electronic sound recording of the proceedings in the

19    above-entitled matter.

20

21

22

23    ____________________________

24    ALICIA JARRETT, AAERT NO. 428           DATE: April 24, 2023

25    ACCESS TRANSCRIPTS, LLC



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
